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 4
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     JAIME LEON ZAMORA
 6
 7
 8                                             UNITED STATES DISTRICT COURT
 9                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )                      CASE NO. 1:09-cr-00006-LJO
                                         )
12               Plaintiff,              )
                                         )                      STIPULATION AND
13                                       )                      ORDER TO CONTINUE STATUS
     vs.                                 )                      CONFERENCE UNTIL APRIL 3, 2009
14                                       )
                                         )
15   JAIME LEON ZAMORA,                  )
                                         )
16               Defendant.              )
                                         )
17   ____________________________________)
18
19
20               IT IS HEREBY STIPULATED by and between the Defendant, JAIME LEON
21   ZAMORA, his Attorney of record, CAROL ANN MOSES, MARK CULLERS, Chief Assistant
22   United States Attorney, and RACHAEL HILL, Assistant Federal Defender and Attorney for
23   Angelita Leon, that the Status Conference set for March 27, 2009, at 9:00 a.m. be continued to
24   ///
25   ///
26   ///
27   ///
28   ///

     STIP & PR O PO SED O R D ER TO
     C O N TIN U E STATU S C O N FER EN C E                 1
     Case 1:09-cr-00006-LJO-SKO Document 19 Filed 03/11/09 Page 2 of 2


 1   April 3, 2009 at 9:00 a.m. or to another date convenient for the Court. The proposed stipulation
 2   of a one week continuance is to accommodate an unexpected change in Defense Counsel Moses’
 3   litigation schedule and required appearance on March 27, 2009 at 9:00 am at the Sierra Court in
 4   Bass Lake, California.
 5
 6   Dated: March 10, 2009                                        By: /s/ Carol Ann Moses
                                                                         CAROL ANN MOSES
 7                                                                       Attorney for Defendant
                                                                         JAIME LEON ZAMORA
 8
 9   Dated: March 10, 2009                                        By: /s/ Mark Cullers
                                                                         MARK CULLERS
10                                                                       Chief Assistant U.S. Attorney
                                                                         Attorney for Plaintiff
11
12   Dated: March 10, 2009                                        By:      /s/ Rachael Hill
                                                                             RACHAEL HILL
13                                                                           Assistant Federal Defender
                                                                             Attorney for Co-Defendant
14                                                                           Angelita Leon
15
16
                                                          ORDER
17
                 The Court, having reviewed the above request HEREBY ORDERS AS FOLLOWS:
18
                 1.          There is good cause for the request. The Status Conference scheduled for March
19
                             27, 2009 for Defendants, JAIME LEON ZAMORA and ANGELITA LEON, shall
20
                             be continued to April 3, 2009, at 9:00 a.m.
21
22   IT IS SO ORDERED.
23   Dated:            March 11, 2009                         /s/ Lawrence J. O'Neill
     b9ed48                                               UNITED STATES DISTRICT JUDGE
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     STIP & PR O PO SED O R D ER TO
     C O N TIN U E STATU S C O N FER EN C E                   2
